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   The relief described hereinbelow is SO ORDERED.



   Signed March 31, 2022.

                                                     __________________________________
                                                            H. CHRISTOPHER MOTT
                                                     UNITED STATES BANKRUPTCY JUDGE
   ________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

     IN RE:                                    §
                                               §    Case No. 21-30107
     PDG PRESTIGE, INC.                        §    (Chapter 11)
                                               §
              Debtor.                          §

         ORDER    CONFIRMING     SECOND    AMENDED   PLAN       OF
         REORGANIZATION PDG PRESTIGE, INC. DATED MARCH 29, 2022 AS
         MODIFIED (RE: DOCKET NO. 145)

         On March 30, 2022, the Court conducted a hearing and considered confirmation of the

         Plan of Reorganization of PDG Prestige, Inc. Dated November 3, 2021 (Docket No. 94)
         (the “Initial Plan”), as amended by the

         First Amended Plan of Reorganization of PDG Prestige, Inc. Dated January 17, 2022
         (Docket No. 110) and as amended by the

         Second Amended Plan of Reorganization of PDG Prestige, Inc. Dated March 29, 2022
         (Docket No. 141), and as modified by the

         Second Amended Plan of Reorganization of PDG Prestige, Inc. Dated March 29, 2022,
         as Modified (Docket No. 145) (the “Plan”)



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   filed herein by PDG Prestige, Inc. (“PDGP” or the “Debtor”), which final confirmed Plan is
   attached hereto and incorporated by reference herein as Exhibit PDGP499, and which Plan is
   and/or was supported by the:

          First Amended Disclosure Statement (as Corrected) In Support of First Amended Plan of
          Reorganization of PDG Prestige Inc. Dated January 17, 2022 (Docket No. 116) (the
          “Disclosure Statement”), and the

          First Supplement to Chapter 11 Plan and Disclosure Statement Regarding Retained
          Claims and Causes of Action (Docket No. 126).

            After reviewing the Plan, taking judicial notice of all appropriate papers and pleadings on
   file in this Chapter 11 case, considering the testimony, and other evidence presented, and hearing
   the arguments of counsel at the hearing to consider the adequacy of the Disclosure Statement
   confirmation of the Plan (together the "Confirmation Hearing"), the Court FINDS:

           A.     All capitalized terms not defined herein shall have the same meaning as ascribed
   to such terms in the Plan.

          B.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§1334 and
   157.

          C.      Venue in this District for this proceeding is proper pursuant to 28 U.S.C. §§1408
   and 1409.

           D.     This matter involves, inter alia, the administration of the estate, the allowance and
   disposition of certain claims, the adjudication of the relative rights of parties, and the discharge
   of the Debtor, all as embodied in and implemented by virtue of the Plan and confirmation of the
   Plan. Accordingly, the matters determined herein constitute a core proceeding under 28 U.S.C.
   §§157(b)(2)(A), (B), (L), and (O), without limitation.

           E.     The Debtor commenced this case on February 15, 2021, by filing a voluntary
   petition.

         F.      Since the entry of the Order of Relief, Debtor has continued its operations and
   managed its affairs as debtor in possession pursuant to §§1107 and 1108 of the United States
   Bankruptcy Code, Title 11 of the United States Code, 11 U.SC. §101 et seq. (the “Code”).

          G.      On November 3, 2021, the Debtor filed the Initial Plan and sought approval of the
   Disclosure Statement.

          H.      On January 20, 2022, the Court entered an order (Docket No. 118) approving the
   Disclosure Statement (the “Disclosure Statement Order”) and permitting solicitation of the Initial
   Plan.

          I.     The Plan, the Disclosure Statement, the Disclosure Statement Order, the notice of
   the Confirmation Hearing, and the official ballots for voting for or against confirmation of the


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   Plan (the "Solicitation Package") were duly and timely served upon the known members or
   potential members of all impaired Classes in accordance with the Disclosure Statement Order.

           J.      Service of the Solicitation Package constituted adequate and sufficient notice of
   the Plan, the voting deadline, the objection deadline, and the Confirmation Hearing, and no other
   or further notice is or shall be required.

           K.      Various objections to the Plan or the Disclosure Statement were filed or otherwise
   received prior to the Confirmation Hearing. All such objections have been withdrawn prior to or
   at the Confirmation Hearing or are otherwise overruled by this Order.

          L.    The Disclosure Statement contains adequate information within the meaning of
   Code § 1125.

           M.     Based upon the Ballots submitted to the Court, the announcements made into the
   record, and the contents of the Plan, all holders of all Claims and Interests addressed in the Plan
   are either unimpaired and thus are deemed to accept the Plan or have accepted the Plan.

          N.     The solicitation of acceptances or rejections has been conducted pursuant to and
   in compliance with Code § 1125.

           O.     The Plan complies with all applicable provisions of Code §§ 1122, 1123, and
   1124.

           P.      Specifically, in addition to Administrative Claims and Priority Tax Claims, which
   need not be classified, the Plan designates six (6) classes of Claims and Interests, each as defined
   in the Plan. Classes are appropriately designated as impaired or unimpaired, as the case may be.
   The Claims or Interests placed in each such Class are substantially similar to other Claims or
   Interests, as the case may be, in such Class. The classification scheme of the Plan complies with
   Code §§1122 and 1123(a).

           Q.    The Plan provides adequate and proper means for its implementation, thereby
   satisfying Code § 1123(a)(5).

          R.     The Plan complies with the applicable provisions of the United States Bankruptcy
   Code, thereby satisfying Code § 1129(a)(1).

           S.     The Plan proponents have complied with all applicable provisions of the
   Bankruptcy Code, thereby satisfying Code § 1129(a)(2). Specifically, the Debtor is a proper
   debtor under Code § 109 and has properly complied with the Bankruptcy Code and applicable
   rules in propounding the Plan and Disclosure Statement and in soliciting and tabulating votes on
   the Plan.

          T.       The Plan has been proposed in good faith and not by any means forbidden by law,
   thereby satisfying Code § 1129(a)(3).

          U.     Any payments made or to be made by the Debtor for services or for costs and
   expenses in or in connection with the Debtor’s Chapter 11 case or in connection with the Plan

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   and incident to such Chapter 11 case have been approved by, or are subject to the approval of,
   this Court as to reasonableness, thereby satisfying Code § 1129(a)(4).

            V.     The identity and affiliation of any individual proposed to serve, after confirmation
   of the Plan, as a director, officer, trustee, or administrator of the Debtor has been disclosed prior
   to or in connection with confirmation of the Plan, thereby satisfying Code § 1129(a)(5)(A)(i).
   The assumption of office of such directors, officers, trustees, or administrators as applicable is
   consistent with the interests of creditors and with public policy, thereby satisfying Code
   § 1129(a)(5)(A)(ii). The identity of any insider that will be employed or retained by the
   Reorganized Debtor and the nature of any compensation for each such insider has been disclosed
   prior to or in connection with confirmation of the Plan, thereby satisfying Code § 1129(a)(5)(B).

           W.     The Plan does not propose to change or alter any rates which are under the
   authority of any governmental regulatory commission, thereby satisfying Code § 1129(a)(6).

           X.    With respect to each impaired Class of Claims, each holder of a Claim in such
   impaired Class has either accepted the Plan or will receive or retain under the Plan on account of
   such Claim, property of a value, as of the Effective Date (as defined in the Plan), that is not less
   than the amount that such holder would receive or retain if the Debtor were liquidated under
   Chapter 7 of the Bankruptcy Code on such date, thereby satisfying Code § 1129(a)(7)(A) and
   Code § 1129(a)(7)(B) is inapplicable.

            Y.     All impaired classes under the Plan have accepted the Plan pursuant to the
   criteria of Code § 1126, thereby satisfying Code § 1129(a)(8).

           Z.     No impaired class or holder of an impaired claim is discriminated against unfairly
   in the Plan.

           AA. Except to the extent that the holder of a particular Claim has agreed to a different
   treatment of such claim or is provided different treatment in this Confirmation Order, the Plan
   provides that, (a) as to each Claim of a kind specified in Code §§ 507(a)(2) or 507(a)(3), the
   holder of such Claim will receive on account of such Claim, on the Effective Date of the Plan,
   cash equal to the allowed amount of such Claim, in satisfaction of Code § 1129(a)(9)(A);
   (b) with respect to a Class of Claims of a kind specified in Code §§ 507(a)(1), 507(a)(4),
   507(a)(5), 507(a)(6), or 507(a)(7), each holder of a Claim in such Class will receive treatment
   comporting with the provisions of Code § 1129(a)(9)(B); and (c) with respect to a Claim of a
   kind specified in § 507(a)(8) of the Bankruptcy Code, the holder of such Claim in such class will
   receive treatment comporting with the provisions of Code § 1129(a)(9)(C) (or Code
   § 1129(a)(9)(D) if applicable), thereby satisfying Code § 1129(a)(9).

          BB. At least one Class of Claims impaired under the Plan has accepted the Plan,
   determined without including any acceptances of the Plan by any insider, thereby satisfying
   Code § 1129(a)(10).

           CC. The Plan is feasible. Confirmation of the Plan is not likely to be followed by the
   liquidation of the Debtor or the need for further reorganization of the Debtor, other than any
   liquidation or reorganization proposed in the Plan, thereby satisfying Code § 1129(a)(11).


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           DD. All fees payable under 28 U.S.C. §1930, as determined by this Bankruptcy Court,
   have been paid or the Plan provides for the payment of all such fees on the Effective Date of the
   Plan, thereby satisfying Code § 1129(a)(12).

          EE.     The requirements of Code § 1129(a)(13) are not applicable to this Debtor.

            FF.   No garnishments or other orders pertaining to domestic support obligations exist
   as to the Debtor, and thus Code § 1129(a)(14) is not applicable to this Debtor.

          GG.     This Debtor is not an individual, and thus Code § 1129(a)(15) is not applicable to
   this Debtor.

           HH. This Confirmation Order in Paragraph No. 16 below provides that, to the extent
   that the Debtor is not a moneyed, business, or commercial corporation within the meaning of
   Code § 1129(a)(16), that the Debtor shall follow the requirements of Code § 1129(a)(16),
   thereby satisfying Code § 1129(a)(16).

          II.     The principal purpose of the Plan is not the avoidance of taxes.

          JJ.    The Proponents have solicited votes on the Plan in good faith and in compliance
   with the applicable provisions of the Bankruptcy Code and are entitled to the protections
   afforded by Code § 1125(e).

          KK. Bubba’s Holdings LLC (f/k/a Strategic Restaurant Concepts, LLC has not
   objected to the assumption of the Bubba’s Holding’s Lease (as defined in Plan §7.1), and the
   Plan otherwise provides Plan § 7.1 a procedure for the possible assumption and potential
   assignment of other leases of nonresidential real property. .

          LL. The Court may properly retain jurisdiction over the matters set forth in
   Section 13.1 of the Plan.

          MM. This Bankruptcy Court adopts the findings announced on the record on March 30,
   2022 and reserves the right to enter further findings of fact and conclusions of law. As
   appropriate, all findings of fact are conclusions of law, and vice versa.

       Based upon the foregoing findings of fact and conclusions of law, IT IS
   THEREFORE ORDERED:

        1.  The Plan (a copy of which is attached hereto as Exhibit PDGP499 is hereby
   CONFIRMED pursuant to Code §1129(a) and/or to the extent applicable Code § 1129(b).

           2.      Pursuant to Code § 1141, effective as of the Effective Date, but subject to
   consummation of the Plan, and except as expressly provided in the Plan or in this Confirmation
   Order, the provisions of the Plan (including the exhibits thereto), and all documents and
   agreements to be executed pursuant to the Plan, are hereby approved and, together with this
   Confirmation Order, shall be binding on the Debtor and all holders of Claims against and
   Interests in the Debtor, whether or not impaired under the Plan and whether or not, if impaired,
   such holders accepted the Plan.

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           3.      The assumption by the Debtor of the Bubba’s Holding’s Lease (as defined in Plan
   § 7.1) is hereby approved.

           4.     On and as of the Effective Date, all property of the Debtor's estate is and shall be
   vested in the Reorganized Debtor in the manner specified in the Plan except as otherwise
   specified herein.

           5.     Except as otherwise provided in the Plan or herein, from and after the Effective
   Date, all persons and entities that have held, currently hold, or may hold any Claims against the
   Debtor (or other right of any equity security holder that is cancelled under the terms of the Plan)
   are forbidden from taking any of the following actions against the Debtor, the Reorganized
   Debtor or any of their respective property on account of any such Claims or Interests or rights
   related thereto: (a) commencing or continuing in any manner, any suit, action, or other
   proceeding; (b) enforcing, attaching, collecting, or recovering in any manner any judgment,
   award, decree, or order; (c) asserting a setoff, right of subrogation, or recoupment of any kind
   against any debt, liability, or obligation due to the Debtor; (d) creating, perfecting, or enforcing
   any lien or encumbrance; and (e) commencing or continuing any action, in any manner, in any
   place, that does not comply with or is inconsistent with the provisions of the Plan or the
   Bankruptcy Code; provided, however, that the foregoing injunction shall not limit or preclude
   any person or entity from exercising its rights pursuant to the terms of the Plan or any document
   executed pursuant thereto.

           6.      Pursuant to Code § 1142, the Debtor, the Reorganized Debtor, and their
   respective officers, directors, trustees, and administrators, and all other necessary parties, are
   authorized and empowered, and hereby directed, to execute and deliver all other instruments,
   agreements, and documents, and to take any and all other actions that may be necessary or
   desirable to comply with the terms and conditions of the Plan or to consummate or implement
   the Plan or this Confirmation Order.

           7.      With the exception of administrative expense claims that are post-petition ad
   valorem property taxes, all requests for payment of Administrative Claims, other than Fee
   Claims as set forth in this paragraph or Administrative Claims to the extent incurred by the
   Debtor in the ordinary course of business and recorded in the Debtor's books and records, shall
   be filed with the Bankruptcy Court and served upon the Debtor and other notice parties within
   thirty (30) days following the Effective Date or by such earlier deadline as may apply to such
   Administrative Claim pursuant to an earlier order of the Court, if any. All requests for Fee
   Claims of Professional Persons shall be filed with the Bankruptcy Court and served upon the
   Debtor and other notice parties within thirty (30) days following the Effective Date. Except as
   provided herein or in the Plan, any Administrative Claim or Fee Claim for which an application
   or request for payment is not filed within such time period shall be discharged and forever bared.

           8.      Nothing in the Plan or in this Confirmation Order shall be construed to deprive
   any taxing authorities of any statutory liens which may inure to the benefit of such taxing
   authorities to secure payment of any pre-petition Priority Tax Claims, Secured Tax Claims, or
   any post-petition Administrative Claims for taxes.




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           9.      In the case of post-petition Administrative Claims for state and local taxes, the
   submission of tax bills or invoices presented in the ordinary course to the Debtor shall suffice in
   lieu of a formal claim for Administrative Payment. With the exception of ad valorem property
   taxes, in the event that the Debtor contests any such bills or invoices, the Debtor may elect to
   contest such taxes in this Court prior to the entry of a Final Decree or pursuant to the state or
   local rules for contesting such taxes.

           10.     On and as of the Effective Date, all contractual, legal, equitable, equitable
   subordination, and turnover rights that a holder of a Claim or Interest may have with respect to
   any distribution to be made pursuant to the Plan will be discharged and terminated, and all suits,
   actions, and other proceedings and all other efforts to enforce or attempt to enforce any such
   contractual, legal, equitable, equitable subordination, and/or turnover rights are hereby
   permanently enjoined. The provisions of the Plan constitute a good faith compromise and
   settlement of all Claims or controversies relating to the enforcement of all such contractual,
   legal, equitable, equitable subordination, and turnover rights. The compromise and settlement of
   all such Claims and controversies is approved under Bankruptcy Rule 9019 as being fair,
   equitable, and reasonable and in the best interests of the Debtor, the Reorganized Debtor, and the
   holders of Claims and Interests.

           11.     Except as otherwise expressly provided in the Plan or herein, the rights and
   treatment afforded in the Plan shall discharge all existing security interests, liens, debts, and
   claims of any kind, nature, or description whatsoever against the Debtor or any of its assets or
   properties to the fullest extent permitted by Code § 1141; upon the Effective Date, all existing
   Claims against the Debtor, except post-petition ad valorem property taxes, shall be, and shall be
   deemed to be, discharged, and all holders of Claims shall be precluded from asserting against the
   Debtor, or any of its assets or properties, any other or further Claim based upon any act or
   omission, transaction, or other activity of any kind or nature that occurred prior to the Effective
   Date, whether or not such holder filed a proof of Claim except for the claimant’s rights as
   provided in this Plan. Confirmation of the Plan and the obligations imposed on the Debtor
   and/or the Reorganized Debtor herein shall be in complete satisfaction, discharge, and release of
   all Claims of any nature whatsoever against the Debtor and/or the Reorganized Debtor or any of
   its assets or properties; and, except as otherwise provided herein, upon the Effective Date, the
   Debtor shall be deemed discharged and released from any and all Claims, including but not
   limited to demands and liabilities that arose before the Effective Date, and all debts of the kind
   specified in Code §§ 502(g), 502(h), or 502(i) that arose prior to the Confirmation Date, whether
   or not (a) a proof of Claim based upon such debt is filed or deemed filed under Code § 501, (b) a
   Claim based upon such debt is allowed under Code § 502, or (c) the holder of a Claim based
   upon such debt has accepted the Plan. Except as provided herein, the Confirmation Order shall
   be a judicial determination of discharge of all liabilities of the Debtor. As provided in Code
   § 524, such discharge shall void any judgment against the Debtor at any time obtained, to the
   extent it relates to a Claim, and operates as an injunction against the prosecution of any action
   against the Debtor, or its property, to the extent it relates to a Claim discharged. However, any
   provision of this Order notwithstanding, the discharge granted herein shall not discharge the
   Reorganized Debtor from its obligations under the Plan or under any document executed
   pursuant thereto.



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          12.      Pursuant to 28 U.S.C. §§ 1334 and 157, this Bankruptcy Court shall retain
   exclusive jurisdiction of all matters arising in, arising under, and related to this Chapter 11 case
   and the Plan, including the matters specified in Plan § 13.1.

           13.     The classification of Claims and Interests for purposes of distributions to be made
   under the Plan shall be governed solely by the terms of the Plan. The classifications set forth on
   the Ballots tendered or returned by the holders of Claims in connection with voting on the Plan
   (a) were set forth on the Ballots solely for purposes of voting to accept or reject the Plan, (b) do
   not necessarily represent, and in no event shall be deemed to modify or otherwise affect, the
   actual classification of such Claims under the Plan for distribution purposes, and (c) may not be
   relied upon by the holder of any Claim as representing the actual classification of such Claims
   under the Plan for distribution purposes.

          14.   Where appropriate, the findings of fact and conclusions of law contained
   hereinabove shall also have the force of decretal paragraphs and the foregoing decretal
   paragraphs shall also have the force of findings of fact, conclusions of law, or both, as
   appropriate.

           15.    The provisions of the Plan and this Confirmation Order, including the findings of
   fact and conclusions of law set forth herein, are nonseverable and mutually dependent. The
   failure specifically to include or reference any particular provision of the Plan in this
   Confirmation Order shall not diminish or impair the effectiveness of such provision, it being the
   intent of this Court that the Plan be confirmed in its entirety. If there is any direct conflict
   between the Plan and this Confirmation Order, the terms of this Confirmation Order shall
   control.

         16.    To the extent that the Debtor constitutes a non-moneyed, non-business, or non-
   commercial corporation within the meaning of Code § 1129(a)(16), any transfers of property
   contemplated by the Plan shall be made in accordance with any applicable provisions of
   nonbankruptcy law that govern the transfer of property by a corporation or trust that is not a
   moneyed, business, or commercial corporation or trust.

           17.     After the Confirmation Hearing, the Debtor or the Reorganized Debtor, as the
   case may be, may, subject to Court approval and so long as it does not materially or adversely
   affect the rights set forth in the Plan of creditors and other parties-in-interest, amend or modify
   the Plan and related documents to remedy any defect or omission or reconcile any
   inconsistencies in such documents or in this Order, in such manner that may be necessary to
   carry out the purposes and intent of the Plan.

          18.    In the event of a conversion of this case to Chapter 7 any time after the
   confirmation of this Plan, the assets of the Debtor shall re-vest to the bankruptcy estate of the
   Debtor upon such conversion.

          19.    Pursuant to Bankruptcy Rule 3020(c), the Debtor shall, within two (2) business
   days after the entry of this Order, serve notice of the entry of this Order as provided in
   Bankruptcy Rule 2002(f) to all persons and entities required in Rules 2002 and 3020(c)(2) of the
   Federal Rules of Bankruptcy Procedure.


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           20.     Upon occurrence of the Effective Date, the Reorganized Debtor shall file and
   serve on all parties set forth in the foregoing paragraph a Notice of Effective Date, with
   deadlines for filing and serving rejection claims and administrative claims clearly indicated, no
   later than two (2) Business Days after the occurrence of the Effective Date.



          21.      THE EFFECTIVE DATE OF THE PLAN IS AND SHALL BE April 1, 2022.
   Debtor shall file and serve a separate Notice of Effective Date.

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                                    EXHIBITPDGP499




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                                                              United States Bankruptcy Court
                                                                Western District of Texas
In re:                                                                                                                 Case No. 21-30107-hcm
PDG Prestige, Inc.                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 31, 2022                                               Form ID: pdfintp                                                           Total Noticed: 9
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 02, 2022:
Recip ID                   Recipient Name and Address
db                     +   PDG Prestige, Inc., 154 N Festival Dr., Ste. D, El Paso, TX 79912-6265
aty                    +   Fred Kennon, Dona Ana County Attorney's Office, 845 N. Motel Blvd., Box #17, Suite 2-147, Las Cruces, NM 88007-8100
cr                     +   City bank, c/o Brad Odell, Mullin Hoard & Brown, LLP, P. O. Box 2585, Lubbock, TX 79408-2585
cr                     +   Dennis Crimmins, c/o ScottHulse PC, PO Box 99123, El Paso, TX 79999-9123
cr                     +   Dona Ana County Treasurer, Treasurer's Office, 845 N. Motel Blvd., Suite 2-148, Box #17, Las Cruces, NM 88007-8100
cr                     +   HD Lending, LLC, P.O. Box 1977, El Paso, TX 79999-1977
cr                     +   New Mexico Real Estate Advisors, Inc. d/b/a Collie, c/o Kemp Smith LLP, Attn: James W. Brewer, 221 N. Kansas, Ste,. 1700, El Paso,
                           TX 79901-1401

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
aty                    + Email/Text: jcarruth@wkpz.com
                                                                                        Mar 31 2022 22:10:00      Jeff Carruth, Weycer, Kaplan, Pulaski & Zuber,
                                                                                                                  P.C., 3030 Matlock Rd. Suite 201, Arlington, TX
                                                                                                                  76015-2936
cr                         Email/Text: sanantonio.bankruptcy@publicans.com
                                                                                        Mar 31 2022 22:09:00      City Of El Paso, Weston Centre, 112 E. Pecan St,
                                                                                                                  Suite 2200, San Antonio, TX 78205

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 02, 2022                                            Signature:           /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 31, 2022 at the address(es) listed
         21-30107-hcm Doc#151 Filed 04/02/22 Entered 04/02/22 23:20:30 Imaged Certificate of
                                        Notice Pg 25 of 25
District/off: 0542-3                                            User: admin                                                             Page 2 of 2
Date Rcvd: Mar 31, 2022                                         Form ID: pdfintp                                                       Total Noticed: 9
below:
Name                           Email Address
Brad W. Odell
                               on behalf of Creditor City bank bodell@mhba.com memert@mhba.com;mreynolds@mhba.com;bwodellscvtxw@ecf.axosfs.com

Casey Scott Stevenson
                               on behalf of Plaintiff Dennis Crimmins cste@scotthulse.com cmac@scotthulse.com

Casey Scott Stevenson
                               on behalf of Plaintiff Crimmins Family Limited Partnership cste@scotthulse.com cmac@scotthulse.com

Casey Scott Stevenson
                               on behalf of Creditor Dennis Crimmins cste@scotthulse.com cmac@scotthulse.com

Casey Scott Stevenson
                               on behalf of Plaintiff White Sands Construction Inc. cste@scotthulse.com, cmac@scotthulse.com

Casey Scott Stevenson
                               on behalf of Plaintiff MDDC Investments LLC cste@scotthulse.com, cmac@scotthulse.com

Clyde A. Pine, Jr.
                               on behalf of Creditor HD Lending LLC pine@mgmsg.com, clyde.pine@gmail.com

David W. Parham
                               on behalf of Creditor City Bay Capital LLC david.parham@akerman.com
                               esther.mckean@akerman.com;david.clark@akerman.com;kristen.mcdanald@akerman.com;rick.boepple@akerman.com;teresa.bar
                               rera@akerman.com

Don Stecker
                               on behalf of Creditor City Of El Paso don.stecker@lgbs.com

Fred Kennon
                               on behalf of Creditor Dona Ana County Treasurer fredk@donaanacounty.org

Harrel L. Davis, III
                               on behalf of Creditor Suresh Kumar hdavis@eplawyers.com vrust@eplawyers.com;vpena@eplawyers.com

James Michael Feuille
                               on behalf of Plaintiff MDDC Investments LLC jfeu@scotthulse.com, tmar@scotthulse.com

James Michael Feuille
                               on behalf of Plaintiff Crimmins Family Limited Partnership jfeu@scotthulse.com tmar@scotthulse.com

James Michael Feuille
                               on behalf of Plaintiff White Sands Construction Inc. jfeu@scotthulse.com, tmar@scotthulse.com

James Michael Feuille
                               on behalf of Plaintiff Dennis Crimmins jfeu@scotthulse.com tmar@scotthulse.com

James Michael Feuille
                               on behalf of Creditor Dennis Crimmins jfeu@scotthulse.com tmar@scotthulse.com

James W Rose, Jr
                               on behalf of U.S. Trustee United States Trustee - EP12 james.rose@usdoj.gov
                               carey.a.tompkins@usdoj.gov;Roxana.peterson@usdoj.gov;aubrey.thomas@usdoj.gov;omar.e.jones@usdoj.gov

James W. Brewer
                               on behalf of Creditor New Mexico Real Estate Advisors Inc. d/b/a Colliers International jbrewer@kempsmith.com,
                               tschoemer@kempsmith.com

Jeff Carruth
                               on behalf of Debtor PDG Prestige Inc. jcarruth@wkpz.com, jcarruth@aol.com;ATTY_CARRUTH@trustesolutions.com

Michael R. Nevarez
                               on behalf of Interested Party Westar Investors Group LLC MNevarez@LawOfficesMRN.com, MRN4Bankruptcy@gmail.com

Steven B. Bass
                               on behalf of Creditor United States of America Internal Revenue Service Steven.Bass@usdoj.gov tina.travieso@usdoj.gov

United States Trustee - EP12
                               USTPRegion07.SN.ECF@usdoj.gov


TOTAL: 22
